THE STATE OF TEXAS                                FELONY                          WARRANT OF ARREST
                 vs                                                                ·ant No. F2220058
COUNTS MATTHEW DAVID

DL - _______ .
SSN - - -                                                       D
DOB-




To any Sheriff, Constable or           fficer of the State of Texas, Greetings: You are Hereby
                                       rlo. T•~


Commanded to Arrest       C          , MATTHEW DAVID               ifto be found in your County
and bring Him/Her before me, a Justice of the Peace in and for Precinct 2 of Midland County,
Texas, at my office in Midland in said County, immediately, to then and there answer the State
of Texas for an offense against the laws of said State, to-wit:

        FAIL TO REPORT W/INTENT TO CONCEAL THE NEGLECT OR ABUSE

of which offense He/She, COUNTS, MATTHEW DAVID is accused by the written
complaint, under oath, of MPD J ALONZO filed before me.
      Herein Fail Not, but of this writ make due return, showing how you have executed the
same.
      Witness my official signature, this the 16th day of February 2022


$   _).ooDBOND                                                   DAVIDM. COBOS
MUST BE MAGISTRATED PRIOR                                        Justice of the Peace, Pct 2
TO RELEASE ON BOND                                               Midland County, Texas


Come to hand the _ _ _ day of _ _ _ _ _, 20__, at _ _ _ o'clock _ _ .M., and executed on the _ __
day of                     20__, at           o'clock _ _.M., by arresting the within names
- - - -- - - - - - - - - - - -- - - - - - - - - - - - - - - - m
- - - - -- - County, Texas, and Taking his bond or Placing him in Jail at _ _ _ _ _ _ __
        I actually and necessarily traveled _ _ miles in the service of this writ, in addition to any other mileage I may
have traveled in the service of other process in this cause during the same trip.

FEES    -       Making Arrest ............ $ _ _ _ __
                Mileage ....................... $_ _ __ _                 Sheriff/ Constable
                Taking Bond ............... $_ _ _ __
                Commitment.. ............. $- - - - -                     - -- - - - -County, Texas
                Release ........................ $- -- - -
                                                                          by _ __ _ _ _ _ _Deputy
                TOTAL. ...................... $_ _ _ __




                                                  Exhibit 1-001
OFFENSE: FAILURE TO REPORT

.1.P. #:        f ~·0058
DATE:       Februa ry 16, 2022

BOND:       $   51r;tO
IN TIU: NAME AND BY THE AUTHORITY OF Tl-II~ STATE OF TEXAS:

        BEFORE ME, the undersigned authority, on this day personally appeared affiant,
who after being by me first duly sworn, says on or about the 20th day of ,JANUARY,
A.D. 2022 and before the making and filing of this complaint, in the County of Midland 1
State of Texas,

                MATTHEW DAVID COUNTS (WM DOB-
                          (Namc of Defendant)

did then and th-                          use to believe that the physical and mental health
and welfare of_                           , a child had been and may be adversely affected
by the offense of AGGRAVATED SEXUAL ASSAULT, and the said then and there
knowingly as a professional failed to report as provided by law, and has a duty to report
under 26 l. l 01 (a) of the Texas Family Code, and is a state jail felony under 261.109 (c) of
the Texas Family Code, the actor intended to conceal the abuse or neglect

against the peace and dignity of the State.




                                                                                 /bl-ie(,·
                                                                     T J. ALONZO ·j)


 . , -~tom to and s~bscribcd before me by affianl, a credible person, on this the Ji},__
dai of    ,A.D. 20;&.                               --;--)~



                                                          JUSTICE OF THE PEACE

                                                          Precinct    '2---p)acc
                                                                                  ---
                                                         Midland County, Texas

                                                         Time Filed: _ __ _ __ _




                                    Exhibit 1-002
                         AFFIDAVIT FOR ARREST WARRANT

                                           J. r .#              lt>sg

THE ST ATE OF TEXAS
COUNTY OF MIDLAND                                                                    Casc#220128019
The undersigned affiant, being a peace officer under the laws of Texas, and being duly sworn,
on oath, makes the following statement and accusation:

I.Sus                                                                 , Blonde Hair, Blue Eyes, 6'1", 190LBS,
TXDL

2 .. It is the belief of Affiant, and he hereby ch urges and accuses, that said suspected party has
committed the following offense: FAILURE TO REPORT TEXAS FAMILY CODE SECTION 261.109(C)
{STATE JAIL FELONY) ON OR ABOUT JANUARY 20TH, 2022 AT MIDLAND CHRISTIAN SCHOOL LOCATED
AT 2001 CULVER IN MIDLAND, IN THE COUNTY OF MIDLAND, TEXAS.

3. Affiant has probable cause for said belief by reason of the following facts, to wit:

The affiant Jennie Alonzo is a Detective with City of Midland Police Department and is currently assigned to
the Crime Against Persons Division in the lnvestigal ivc Service Bureau. A ffiant has been employed with the
Midland Police Department for 9 years.

On Friday, January 28, 2022, I, Detective Alonzo was the on-call Crimes Against Persons Detective and
was notified in rclcrcncc to a possible sexual assault of a child that occurred at Midland Christian School.
I was further advised that the assault did not just occur. The incident was reported to lrnvc occurred on or
about Thursday, January 20111, 2022, during baseball practice at Max H. Christensen Stadium located at
4300 N. Lamesa.

I contacted the victim,                    (WM DOB                  nd his mother Veronica Costilla in
reference to the incident. A forensic interview was scheduled for Friday, February 11, 2022, at the




he-
Children's Advocacy Center.

CAC /11terview with                      v·t    1rem·ic l11ten•iewer Rtullti G"(ur
Radhi conducted an interview with                adhi went over the rules of the intcrvicv,· with -
               Radhi went over th                nows the difference between telling the truth and telling a
lie           greed to talk about true things today.

Radhi aske _ ,hy he was al the center on this date. -                      explained Radhi that on a Tuesday
in January 2022, alter practice he went  into the locker room  to get changed.   When -           got into the
locker room, the lights ,vcrc turned off ~           luted tha~          eshnwn  initiation day.
stated that someone c~           1im and began hilling him. -            was pushed to the groun~
were still hitting him. ~         tated he could hear everyone screaming whc~                rred.11111111111
stated he hit back, and the person told him that he was not allowed to hit back.111111111 stated the boy
hitting him was                  (WM DOB                    who is a 10th grader at Midland Christian.
                     -.tut
            tated that           his knees on,             hands so he could not hit back. -        flipped

                                                       1




                                           Exhibit 1-003
-             over onto his back and put a bat in his butt.-             cxplaincd that he was wearing white
    baseball pants whc1~           ut th~            butt. When the hat was pushed into his butt, his pants and
    underwear were pushed in as well -              stated that he could feel the knob or   the bat in his butt
               'Xl)laincd that when he felt the bat, it was felt hard. -         stated that when he got up his butt
    lltrt, an 11 was sore.


  Radhi exited the interview for a break. Wl~       eturned to the interview room, she clarified with
 -            what had happened with the bat.~       tated that the bat went into his butt. -      stated
  that it felt like something poking him. -    stated that his underwear was pushed in his butt.
- -stated that it felt like something was poking through his pants, puncturing his butt. -
~             this hands were behind his back.

-            tatcd that he secs-         now. The two of them sec each other every day as they arc on rhc




                                                                                        1-
    same baseball team.

    On Friday, February 11, 2022, SGT R. Sharp and I went to Midland Christian School located at 2001
    Culver Dr. to speak with the Superintendent of the school, which is Jared Owen Lee (WM DOB
                  Lee was out of the office. However, I spoke with Dana Eliz,1hcth E~
                , who is the scco ~      hool principal. I requested for Ellis to have              come to
    the office. After some time, -       came to the office and was later transported to the Midland Police
    Department.

    While spea~            lis, she advised me that she was aware of an investigation into the incident between
            and . . . . . . Ellis stated that she knew it had been documented. I requested copies of the
    documentation. However, Ellis stated that Lee had the documentation pertaining to the incident and she
    did not have access to it. I requested that the documents be sent to me on Monday February 14, 2022. It
    was discovered that on Thursday, January 20, 2022, Ellis was notiflcd in reference to a se ....:ual assault that
    had occurred. Ellis stated she knew of the incident on January 20, 2022, that a one of baseball players had
    a baseball bat shoved into his anus. On January 21, 2022, Ellis notified Lee in reforence to the student
    having a baseball bat shoved up his anus to which he was aware on that date. Al that time Lee directed
    Gregory Neal McClendon (WM DOB 1-                     and Matthew David Counts (WM                           to
    conduct an "investigation" into the incident instead of notifying law enforcement or another state agency
    listed in Texas Family Code section: 261.101. I provided her with my card with my contact information.

    On February 14, 2022, I received a call from Lee who stated that he would not provide the documentation
    and refused to answer any questions during the call, he requested a search warrant.

    rt should be noted that in the original report, Officer Fonseca listed that he spoke with Lee on January 28,
    2022. During this interaction, Lee stated that their investigation found the baseball bat did in fact touch
                nus but did not go inside.

    A search warrnnt was applied for and granted. The search warrant was served on February 14, 2022, at
    Midland Christian School.

    During the course of the investigation, it was found that the following individuals employed with Midland
    Christian School had knowledge of the sexual assault on January 21, 2022 - Jared 0 . Lee who is the
    Superintendent  or Midland Christian, Dana E. Ellis who is the Principal of the Secondary School,
    Matthew D. Counts who is the Vice Principal of the Secondarv School, Gregory N. McClendon who is
    the Athletic Director, and Barry Lee Russell (WM DOB -                 who is one of the baseball coaches.
    These individuals who arc administrators and teachers at Midland Christian School arc required by Texas
                                                            2                                o)--Q_

                                                Exhibit 1-004
Family Code:261.10 I to report the incident to authorities. Instead of reporting the incident they have
continually attempted to conceal the incident or abuse from authorities. The above listed staff members of
the school conducted their own "investigation" although they had knowledge of the sexual assault.

During the search at Midland Christian School, 1 was given documents by Lee. These were described as
''notes" from McClcndon and Counts. There was no documentation. These doclimcnts were created either
February ~            1ts and February 12th by McClcndon. In these notes, there was documentation that
dcscribcs ~            nus was touched with the baseball bat. 1-lowcvcr, McClcndon and Counts both
stated that on February  14, 2022, during separate interviews that this wns most of the information they
could remember (interviews with students) since the incident occurred three \veeks ago. None of the
students were interviewed by a forensic interviewer. The victim did not have a forensic interview, nor did
he have a SANE done at that time due to law enforcement not being notified of the incident.

I was also given emails that contained communication between the initial complainant, Lee, Ellis, Counts,
McClendon, and Russell. In the emails it was made very clear that a sexual assault had occurred, and the
school had a duty to rcpo11. The complainant told the school administration if they did not report the
incident, he would have to as a mandatory/professional reporter. There were multiple emails exchanged.
Several of the administrators refused to report the incident as shown in emails when communicating and
responding to the complainant.

The above listed administrators of Mid land Christian School failed lo report the abuse under Texas
Family Code Section: 261. l 09 in an attempt to conceal the allegation of a fellow student/baseball player
who sexually assaulted another student/baseball player (victim) with a baseball bat.

On this date, February 16, 2022, a warrant will be issued for the following-Jared Owen Lee, Dana
Elizabeth Ellis, Gregory Neal McClcndon, Matthew David Counts, and Barry Lee Russell for Failure to
Report (State Jail Felony).

ALL THE FACTS CONTAINED HEREIN ARE SUBSEQUENT TO AND GATHERED THROUGH OFFICIAL POLICE
REPORTS AND FROM THE CRIMINAL INVESTIGATION CONDUCTED BY DETECTIVE JENNIE ALONZO OF THE
MIDLAND POLICE DPEARTMENT. THE ABOVE EVENTS OCCURRED IN THE CITY AND COUNTY OF MIDLAND,
TEXAS AND ARE TRUE AND CORRECT TO THE BEST OF AFFIANT'S KNOWLEDGE.

:.~~".'fore, a ma nt asks for an issua nee or a warrant that   wm authorize he0/} r/rc?'iJ su,1>eeted

                                                                    Affiant    ~ x ()(_
                                                                              --',-,--'--'-------
                                                                               .I. AiLONZO PJfr)
                                                                                .:?"

Subscribed and sworn to before me by said Affiant on this the 16T11 day of Fcbruarv 2022.



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Time- -- - -                                                      .J usticc of the Peace
                                                                  Precinct#~
                                                                  Midland County, Texas



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                                          Exhibit 1-005
